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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Melissa Davis Lowe
Shulman Bastian Friedman & Bui LLP
100 Spectrum Ctr Dr Ste 600
Irvine, CA 92618
949−340−3400




Plaintiff or Attorney for Plaintiff

                                          UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA − RIVERSIDE
In re:

                                                                              CASE NO.:    6:20−bk−14155−SY

Power Bail Bonds, Inc.                                                        CHAPTER:     11


                                                                              ADVERSARY NUMBER:         6:22−ap−01049−SY
                                                               Debtor(s).

Lexington National Insurance Corporation, a Florida corporation


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
BlueVine, Inc. a Delaware Corporation                                                PROCEEDING [LBR 7004−1]

                                                           Defendant(s)



TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
07/14/2022. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                September 15, 2022
             Time:                01:30 PM
             Hearing Judge:       Scott H. Yun
             Location:            3420 Twelfth St., Crtrm 302, Riverside, CA 92501



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: June 14, 2022




                                                                                        By:        "s/" Shari Mason
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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       Case 6:22-ap-01049-SY                    Doc 3 Filed 06/21/22 Entered 06/21/22 11:23:23                                     Desc
                                                Main Document     Page 3 of 3
                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 100
Spectrum Center Drive, Suite 600, Irvine, CA 92618.

A true and correct copy of the foregoing document entitled (specify): SUMMONS AND NOTICE OF STATUS
CONFERENCE IN ADVERSARY PROCEEDING, COMPLAINT AND JUDGE’S STATUS CONFERENCE
INSTRUCTIONS WITH JOINT STATUS REPORT EXHIBIT A will be served or was served (a) on the judge in chambers
in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 21 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

SUBCHAPTER V TRUSTEE: Caroline Renee Djang (TR) cdjang@buchalter.com,
C190@ecfcbis.com;lverstegen@buchalter.com;wilma.escalante@bbklaw.com
COUNSEL FOR PLAINTIFF LEXINGTON NATIONAL INSURANCE CORPORATION: Melissa Davis Lowe
mlowe@shulmanbastian.com, avernon@shulmanbastian.com
INTERESTED PARTY: United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov

                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) June 21, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

Judge’s Copy
Honorable Scott H. Yun
United States Bankruptcy Court
3420 Twelfth Street, Suite 345
Riverside, CA 92501

                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 21, 2022, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented
in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes
a declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Counsel for Defendant – Via Email by Agreement
Elizabeth Bierut, Esq.
Robert J. Lack, Esq.
Friedman Kaplan Seiler & Adelman LLP
Email: ebierut@fklaw.com
Email: rlack@fklaw.com

                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  June 21, 2022                           Anne Marie Vernon                                     /s/ Anne Marie Vernon
  Date                                    Printed Name                                          Signature

        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
